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11    LIMITED (F/K/A GARENA INTERNATIONAL |
      PRIVATE LIMITED), GARENA ONLINE
12    PRIVATE LIMITED, and APPLE INC.
13                       IN THE UNITED STATES DISTRICT COURT
14                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
15                                    WESTERN DIVISION
16    KRAFTON, INC. and PUBG SANTA              Case No. 2:22-cv-00209-GW-MRW
17
      MONICA, INC.,                             STIPULATION TO EXTEND PAGE
                                                LIMITS AND TIME ON
18                           Plaintiffs,        DEFENDANTS’ MOTION TO
                                                COMPEL ARBITRATION AND STAY
19          v.                                  LITIGATION
20    APPLE INC., GOOGLE, LLC,                  Ctrm: 9D
      YOUTUBE LLC, SEA LIMITED, MOCO            Judge: Honorable George H. Wu
21    STUDIOS PRIVATE LIMITED (F/K/A
22    GARENA INTERNATIONAL | PRIVATE
      LIMITED), AND GARENA ONLINE
23
      PRIVATE LIMITED,
24
                             Defendants.
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            STIPULATION TO EXTEND PAGE LIMITS & TIME ON MOTION TO COMPEL ARB.
                    AND STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
     Case 2:22-cv-00209-GW-MRW Document 42 Filed 03/24/22 Page 2 of 5 Page ID #:224



 1            Plaintiffs Krafton, Inc. and PUBG Santa Monica, Inc. (collectively, “Plaintiffs”),
 2
      and Defendants Sea Ltd. (“Sea”), Moco Studios Private Ltd. (f/k/a Garena International I
 3

 4
      Private Ltd.) (“Moco Studios”), Garena Online Private Ltd. (“Garena Online,” and,

 5    together with Sea and Moco Studios, “Garena”), Apple Inc. (“Apple”), Google LLC
 6
      (“Google”), and Google’s wholly-owned subsidiary, YouTube, LLC (“YouTube”)
 7

 8    (collectively, “Defendants”), (together, the “Parties”) have met and conferred and hereby

 9    submit and stipulate to the below regarding page limitations, the briefing schedule, and
10
      proposed hearing date on Defendants’ Motion to Compel Arbitration and to Stay
11

12    Litigation:

13            WHEREAS, Defendants seek to file a Motion to Compel Arbitration and to Stay
14
      Litigation (“Defendants’ Motion”);
15

16            WHEREAS, the Parties have agreed that a 5-page expansion of the page limits set

17    forth in Local Rule 11-6 for the opening and responsive briefs is appropriate to permit
18
      Defendants to submit one consolidated opening brief and to permit Plaintiffs to submit
19

20    one consolidated responsive brief;
21            WHEREAS, Defendants and Plaintiff have agreed to a briefing schedule whereby
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      Defendants will file their opening brief on March 28, 2022, Plaintiffs will file their
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24    responsive brief on April 25, 2022, and Defendants will file their reply brief on May 16,
25    2022;
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              WHEREAS, the Parties have proposed a hearing date of June 2, 2022.
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              STIPULATION TO EXTEND PAGE LIMITS & TIME ON MOTION TO COMPEL ARB.
                      AND STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
     Case 2:22-cv-00209-GW-MRW Document 42 Filed 03/24/22 Page 3 of 5 Page ID #:225



 1          NOW THEREFORE, the Parties, by and through their respective counsel hereby
 2
      STIPULATE and AGREE as follows, subject to the Court’s approval:
 3

 4
            1.     The page limit for Defendants’ memorandum of points and authorities in

 5    support of its anticipated Motion to Compel Arbitration and to Stay Litigation may be
 6
      expanded to 30 pages;
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 8          2.     The page limit for Plaintiffs’ memorandum of points and authorities in

 9    opposition to Defendants’ Motion to Compel Arbitration and Stay Litigation may be
10
      expanded to 30 pages; and
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12          3.     The deadline for Plaintiffs’ responsive brief is April 25, 2022 and the

13    deadline for Defendants’ reply brief is May 16, 2022;
14
            4.     The hearing date for Defendants’ Motion to Compel Arbitration and Stay
15

16    Litigation is June 2, 2022.

17

18
            IT IS SO STIPULATED.
19

20
21    Dated: March 24, 2022                      DURIE TANGRI LLP
22

23                                           By:               /s/ Allyson R. Bennett
24                                                            ALLYSON R. BENNETT
25                                               Attorneys for Defendants
                                                 SEA LIMITED, MOCO STUDIOS PRIVATE
26                                               LIMITED (F/K/A GARENA
                                                 INTERNATIONAL | PRIVATE LIMITED),
27                                               GARENA ONLINE PRIVATE LIMITED, and
                                                 APPLE INC.
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                                             2
            STIPULATION TO EXTEND PAGE LIMITS & TIME ON MOTION TO COMPEL ARB.
                    AND STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
     Case 2:22-cv-00209-GW-MRW Document 42 Filed 03/24/22 Page 4 of 5 Page ID #:226



 1    Dated: March 24, 2022                      MAYER BROWN LLP
 2

 3                                           By:               /s/ A. John Mancini
 4
                                                              A. JOHN P. MANCINI

 5
                                                 Attorneys for Defendants
                                                 GOOGLE LLC AND ITS WHOLLY-OWNED
 6
                                                 SUBSIDIARY, YOUTUBE, LLC

 7
      Dated: March 24, 2022                      WINSTON & STRAWN LLP
 8

 9
                                             By:             /s/ Diana Hughes Leiden
10                                                          DIANA HUGHES LEIDEN
11                                               Attorneys for Plaintiffs KRAFTON, INC. and
                                                 PUBG SANTA MONICA, INC.
12

13                                   FILER’S ATTESTATION
14          Pursuant to Civil L.R. 5-4.3.4, regarding signatures, I, Allyson R. Bennett, attest
15    that concurrence in the filing of this document has been obtained.
16

17                                                             /s/ Allyson R. Bennett
                                                             ALLYSON R. BENNETT
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            STIPULATION TO EXTEND PAGE LIMITS & TIME ON MOTION TO COMPEL ARB.
                    AND STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
     Case 2:22-cv-00209-GW-MRW Document 42 Filed 03/24/22 Page 5 of 5 Page ID #:227



 1                                  CERTIFICATE OF SERVICE
 2          I hereby certify that on March 24, 2022 the within document was filed with the
 3
      Clerk of the Court using CM/ECF which will send notification of such filing to the
 4

 5    attorneys of record in this case.
 6
                                                          /s/ Allyson R. Bennett
 7                                                      ALLYSON R. BENNETT
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             STIPULATION TO EXTEND PAGE LIMITS & BRIEFING SCHEDULE ON MOTION
             TO COMPEL ARB. AND STAY LITIGATION / CASE NO. 2:22-CV-00209-GW-MRW
